
82 So. 3d 765 (2011)
Jimmy Lamar KILLINGSWORTH
v.
STATE of Alabama.
CR-06-0854.
Court of Criminal Appeals of Alabama.
September 30, 2011.
William W. Whatley, Jr., Montgomery, for appellant.
*766 Troy King and Luther Strange, attys. gen., and Corey L. Maze, asst. atty. gen., for appellee.

On Remand from the Alabama Supreme Court
BURKE, Judge.
The Alabama Supreme Court, in Ex parte Killingsworth, [Ms. 1090589, December 30, 2010] 82 So. 3d 761 (Ala.2010), reversed this Court's judgment and held that Killingsworth was denied his right to be tried by an impartial jury and that he was entitled to a new trial. We now reverse the circuit court's judgment and remand the case for a new trial.
REVERSED AND REMANDED.
WELCH, P.J., and WINDOM, KELLUM, and JOINER, JJ., concur.
